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1                                  UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEVADA
2

3      UNITED STATES OF AMERICA,                         ) 2:08-cr-00064-RLH-GWF
                                                         )
4                             Plaintiff,                 ) PROPOSED     ORDER ON MOTION FOR
                                                               ORDER ON    MOTION FOR
                                                         ) IMMEDIATE RELEASE PENDING
5            v.                                          ) HEARING ON APPROPRIATE
                                                         )
6      EVE E. MAZZARELLA, et al.,                        ) CONDITIONS
                                                         )
7                             Defendants.                )
                                                         )
8                                                        )
                                                         )
9                                                        )
10            Upon consideration of the Motion of Defendant Eve Mazzarella for Immediate Release
11     Pending Hearing on Appropriate Conditions, the February 27, 2014 Order of the United States
12     Court of Appeals for the Ninth Circuit granting defendant Eve Mazzarella's motion for release
13     pending appeal, and the entire record in this case, it is hereby
14            ORDERED that Ms. Mazzarella's motion is granted; and it is further
15            ORDERED that the Bureau of Prisons shall release Ms. Mazzarella from its custody
16     immediately; and it is further
17            ORDERED that the parties shall attend a hearing to be held on March
                                                                            March__,
                                                                                  18,2014
                                                                                      2014atat__
18     a.m./p.m. so that
        11:00 a.m.       the terms and
                     in Courtroom   6C,conditions
                                         Lloyd D. of releaseU.S.
                                                  George    can be determined; Las
                                                                 Courthouse,   and it         NV,, so the
                                                                                      is further
                                                                                   Vegas,    NV.
19            ORDERED
        the terms       that until oftherelease
                  and conditions          hearingcan
                                                  Ms.beMazzarella shalland
                                                        determined;      reside
                                                                            it is with her father in San
                                                                                  further
20     Diego and    shall remain  on the
              ORDERED       that until the conditions
                                           hearing MsofMazarella
                                                        release that existed
                                                                  shall resideimmediately  before
                                                                                with her father    her
                                                                                                in San
21      Diego, CA. and shall remain on the conditions of release that existed immediately before
       surrender to the Bureau of Prisons in June 2012.
        her surrender to the Bureau of Prisons in June 2012.
22            IT
               IT IS
                  IS SO
                      SOORDERED.
                          ORDERED.
23            DATED: March __, 2014
                           5, 2014.
24                                                    ____________________________________
                                                      ROGER L. HUNT
25                                                    United States District Judge
26

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